










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS






ELOJIO RODRIGUEZ RUBIO,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

V.

THE STATE OF TEXAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-10-00231-CR

Appeal from the

143rd Judicial District Court

of Reeves County, Texas 

(TC#10-04-07493-CRR) 






O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Elojio Rodriguez Rubio appeals his conviction for burglary of a habitation.  A jury found
him guilty of the charged offense.  Appellant received an enhanced sentence of life in the Texas
Department of Criminal Justice Institutional Division.  We affirm.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s appointed counsel has filed a brief in which he concludes that the appeal is
frivolous and without merit.  Appellate counsel states, and his brief demonstrates, that he has
performed a professional evaluation of the record and has found no error preserved for appeal
that could serve as grounds for reversible error.  The brief meets the requirements of Anders v.
California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87 S.Ct.
2094, 18 L.Ed.2d 1377 (1967), by presenting a professional evaluation of the record, and
demonstrating why there are no arguable grounds to be advanced.  See High v. State, 573 S.W.2d
807 (Tex.Crim.App. 1978).  A copy of counsel’s brief has been delivered to Appellant, and
despite being advised of his right to do so, Appellant has not exercised his right to file a pro se
brief.  Likewise, the State has chosen not to respond.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;An appellate court may not address the merits of issues raised in an Anders brief, or those
raised in a pro se response.  Bledsoe v. State, 178 S.W.3d 824, 826–27 (Tex.Crim.App. 2005).
The Court’s consideration of the case is limited to:  (1) whether the appeal is wholly frivolous,
and issue an opinion explaining that we have reviewed the record and found no reversible error;
or (2) whether arguable grounds for appeal exist, and if so, remand the case to the trial court so
that new counsel may be appointed to address those issues.  Bledsoe, 178 S.W.3d at 826-27.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having carefully reviewed the record and counsel’s brief, we agree that the appeal is
wholly frivolous and without merit.  Further we find nothing in the record that might arguably
support the appeal.  Accordingly, the trial court’s judgment is affirmed.


September 30, 2011
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.

(Do Not Publish)


